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                    Exhibit 2
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              MONROE COUNTY CLERK’S OFFICE                  THIS IS NOT A BILL. THIS IS YOUR RECEIPT.


                                                     Receipt # 3663687

                                                     Book    Page   CIVIL

   Return To:                                        No. Pages: 8
   BRYAN JAMES DANIELS
   496 Main Street                                   Instrument: COMPLAINT
   Buffalo, NY 14202
                                                     Control #:         202312071876
                                                     Index #:           E2023014699

                                                     Date: 12/07/2023

    Buckingham Properties, LLC                       Time: 8:20:02 PM
    Monroe Clover Plaza, LLC




    Bruegger's Enterprises, Inc.
    Liberty Mutual Fire Insurance Company




   Total Fees Paid:                          $0.00

                                                     Employee:




   State of New York

   MONROE COUNTY CLERK’S OFFICE
   WARNING – THIS SHEET CONSTITUTES THE CLERKS
   ENDORSEMENT, REQUIRED BY SECTION 317-a(5) &
   SECTION 319 OF THE REAL PROPERTY LAW OF THE
   STATE OF NEW YORK. DO NOT DETACH OR REMOVE.

                          JAMIE ROMEO

                      MONROE COUNTY CLERK




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF MONROE


          BUCKINGHAM PROPERTIES, LLC, and
          MONROE CLOVER PLAZA, LLC,
                                                                                COMPLAINT
                                      Plaintiffs,
                                                                                Index No.
          v.

          BRUEGGER’S ENTERPRISES, INC.; and
          LIBERTY MUTUAL FIRE INSURANCE COMPANY;

                                     Defendants.



                   Plaintiff, Buckingham Properties, LLC (“Buckingham”) and Monroe Clover Plaza, LLC

         (“Monroe”), by and through their attorneys, RICOTTA MATTREY CALLOCCHIA MARKEL

         & CASSERT, as and for their Complaint against the defendants allege, upon information and

         belief:


                                    NATURE OF ACTION AND PARTIES


                   1.    Plaintiffs seek declaratory judgment pursuant to CPLR §3001 declaring that the

         Liberty Mutual Fire Insurance Company is fully obligated to defend and indemnify Plaintiffs in

         the subject underlying action on a primary and non-contributory basis pursuant to the terms of the

         Liberty Mutual Fire Insurance Company’s Commercial General Liability Insurance Policy,

         number TB2-621-095126-027, and/or Liberty Mutual Fire Insurance Company’s Commercial

         General Liability Umbrella Policy, number TH7-621-095126-057, and for such other and further

         relief as the Court may deem just, proper, and equitable.

                   2.    Plaintiff Buckingham is a domestic limited liability company with a primary

         business address at 259 Alexander Street, Rochester, New York 14607.

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                3.      Plaintiff Monroe is a domestic limited liability company with a primary business

         address at 259 Alexander Street, Rochester, New York 14607.

                4.      At all times hereinafter mentioned, Defendant Bruegger’s Enterprises, Inc.

         (“Bruegger”) was and still is a foreign corporation authorized to transact business in the State of

         New York.

                5.      At all times hereinafter mentioned, Defendant Liberty Mutual Fire Insurance

         Company was and is a foreign corporation domiciled in the State of Wisconsin and authorized to

         issue policies of insurance in the State of New York by the Department of Financial Services.


                                  UNDERLYING INCIDENT AND ACTION


                6.      On April 15, 2018, Buckingham owned the property located at 2951 Monroe

         Avenue, Rochester, New York.

                7.      On or about April 6, 2021, Patrick Walsh and Christine Walsh commenced a

         lawsuit (hereinafter referenced as “Underlying Action”) styled Patrick Walsh and Christine Walsh

         v. Bruegger’s Enterprises, Inc., Monroe Clover Plaza, LLC and Buckingham Properties, LLC,

         Index No. E2021003013, Supreme Court, Monroe County. A copy of the Complaint is attached

         hereto as Exhibit A.

                8.      Patrick Walsh claims that on or about April 15, 2018, he slipped and fell

         (hereinafter “the Underlying Incident”) while leaving the bagel shop operated by Bruegger’s

         Enterprises, Inc. in the County of Monroe and State of New York.

                9.      Walsh claims specifically that he slipped while walking on the sidewalk while

         exiting the bagel shop. A copy of Walsh’s deposition transcript is attached hereto as Exhibit B.

                10.     Walsh claims that he was injured as a result of the fall.



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                11.     Walsh alleges in E2021003013 that the negligence of Bruegger’s, Monroe Clover

         Plaza, and Buckingham caused his injuries.


                                              LEASE AGREEMENT


                12.     Prior to the incident alleged in E2021003013, Bruegger’s and Monroe entered into

         a lease agreement for the rental of a 1,400 square foot building located on the lot with the address

         of 2951 Monroe Avenue, Town of Brighton, County of Monroe. The terms and conditions of the

         Lease are incorporated herein by reference. A copy of the lease is attached hereto as Exhibit C.

                13.     The Lease was in full force and effect on the date of the incident set forth in

         E2021003013.

                14.     Under the Lease, Bruegger’s was responsible for snow removal and salting on the

         sidewalk where Walsh alleges he was injured.

                15.     At Article IV, the Lease specifically notes:


                Section 4.01: Maintenance Expense. Landlord shall be responsible for repairing
                and maintaining driveways and parking areas (including striping parking spaces,
                patching, repaving, and resealing the parking area and snow and ice plowing and
                removal)…It is understood that Tenant, at its expense, is responsible for hand
                shoveling its sidewalk frontage.
                16.     The Lease also required Bruegger’s to obtain liability insurance.

                17.     At Article VIII, the Lease specifically notes:


                Section 8.01: Tenant’s Coverage. Tenant shall maintain at its sole expense during
                hte term hereof, public liability insurance coverage…for injury…[t]enant will
                cause such insurance policies to name Landlord and Buckingham Properties, LLC
                as additional insureds.
                18.     Bruegger’s is also required to indemnify Monroe for any acts of its [the tenant’s]

         negligence:



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                Section 8.03: Indemnification. Tenant hereby agrees to indemnify and hold
                Landlord harmless from any and all claims, damages, liabilities or expenses arising
                out of (a) Tenant’s use of the Premises and the Lot…(c) any act, omission or
                negligence of Tenant, its agents or employees.

                 BRUEGGER’S INSURANCE POLICY WITH LIBERTY MUTUAL FIRE


                19.     Upon information and belief, Liberty Mutual issued a Commercial General

         Liability Policy (hereinafter “Liberty Mutual CGL Policy”) to named insured Bruegger’s

         Enterprises, Inc. bearing Policy number TB2-621-095126-027. A copy of the Liberty Mutual CGL

         Policy is attached hereto as Exhibit D and the terms and conditions of the Liberty Mutual CGL

         Policy are incorporated herein by reference.

                20.     Upon information and belief, Liberty Mutual also issued a Commercial Liability –

         Umbrella Policy (hereinafter “Liberty Mutual CGL – Umbrella Policy”) to named insured

         Bruegger’s Enterprises, Inc. bearing number TH7-621-095126-057. A copy of the Liberty Mutual

         CGL – Umbrella Policy is attached hereto as Exhibit E and the terms and conditions of the Liberty

         Mutual CGL - Umbrella Policy are incorporated herein by reference.

                21.     Upon information and belief, the Liberty Mutual CGL Policy was in full force and

         effect on the date of the Underlying Incident.

                22.     Upon information and belief, the Liberty Mutual CGL – Umbrella Policy was in

         full force and effect on the date of the Underlying Incident.

                23.     Upon information and belief, the Declarations of the Liberty Mutual CGL Policy

         identify 2951 Monroe Avenue, Brighton, New York in the Schedule of Locations.

                24.     Upon information and belief, the Additional Insured Schedule of the Liberty

         Mutual CGL Policy identifies Plaintiffs as additional insureds.

                25.     Upon information and belief, the Declarations of the Liberty Mutual CGL –

         Umbrella Policy identify 2951 Monroe Avenue, Brighton, New York in the Schedule of Locations.

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                26.     Upon information and belief, the Additional Insured Schedule of the Liberty

         Mutual CGL – Umbrella Policy identifies Plaintiffs as additional insureds.


               MONROE AND BUCKINGHAM’S TENDER TO BRUEGGER’S AND LMIC


                27.     On January 9, 2023, Plaintiffs tendered their defense and indemnity of the

         Underlying Action to Bruegger’s and Liberty Mutual Fire Insurance Company. See Exhibit F:

         Demands by Monroe and Buckingham to Bruegger’s Enterprises, Inc.

                28.     On multiple occasions, including, but not limited to, May 15, 2023, November 14,

         2023, and December 4, 2023, Plaintiffs sent follow-up letters on this request, and Bruegger’s

         (through counsel) failed to respond to same. See Exhibit G: Follow-up requests.

                29.     To date, Bruegger’s and the Liberty Mutual Fire Insurance Company have wrongly

         refused to honor their obligation to fully defend Monroe and Buckingham on a primary and non-

         contributory basis for all claims, causes of action, and damages sought in the Underlying Action.


                              AS AND FOR A FIRST CAUSE OF ACTION
                         AGAINST THE DEFENDANTS: BREACH OF CONTRACT
                30.     Plaintiffs repeat and reallege the allegations set forth in the paragraphs designated

         “1” through “28” of the Complaint as if fully set forth herein.

                31.     By refusing to comply with their obligations to defend and indemnify Plaintiffs on

         a primary and non-contributory basis, the defendants have breached the terms of the Policy.

                32.     Upon information and belief, Plaintiffs are insured by the Liberty Mutual CGL

         Policy for the Underlying Action.

                33.     Upon information and belief, Plaintiffs are insured by the Liberty Mutual CGL –

         Umbrella Policy for the Underlying Action.




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                34.     The Underlying Action seeks damages for bodily injury arising out of a fall that

         allegedly occurred at 2951 Monroe Avenue, Brighton, New York, where Bruegger’s leases the

         premises from Plaintiffs for commercial use.

                35.     Plaintiffs have been damaged by the aforementioned breach.

                36.     Plaintiffs are entitled to damages for breach of contract in an amount to be

         determined at trial, and which include any and all costs associated with pursuing this action, along

         with defense costs that have been or may be incurred by or on behalf of Plaintiffs in the Underlying

         Action, and any settlements, damages, verdicts, judgments, costs, sum or penalties that Plaintiffs

         may pay or become obligated to pay as a result of the Underlying Action.


                         AS AND FOR A SECOND CAUSE OF ACTION AGAINST
                           THE DEFENDANTS: DECLARATORY JUDGMENT
                37.     Plaintiffs repeat and reallege the allegations contained in the paragraphs designated

         “1” through “34” of the Complaint as if fully set forth herein.

                38.     Based upon the foregoing, Plaintiffs request that this Court issue a declaratory

         judgment stating that pursuant to the terms of the Liberty Mutual CGL Policy, that the insurer

         owes a primary duty to fully defend and indemnify Plaintiffs in the Underlying Action; that the

         insurance coverage afforded to Plaintiffs under the Liberty Mutual CGL Policy for the Underlying

         Action is primary and non-contributory; and for such other and further relief as the Court may

         deem just, proper, and equitable.

                39.     Based upon the foregoing, Plaintiffs request that this Court issue a declaratory

         judgment stating that pursuant to the terms of the Liberty Mutual CGL – Umbrella Policy, that the

         insurer owes a primary duty to fully defend and indemnify Plaintiffs in the Underlying Action;

         that the insurance coverage afforded to Plaintiffs under the Liberty Mutual CGL – Umbrella Policy



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         for the Underlying Action is primary and non-contributory; and for such other and further relief as

         the Court may deem just, proper, and equitable.


                WHEREFORE, it is respectfully requested that Monroe and Buckingham be awarded

         monetary damages on the first cause of action for breach of contract, including reimbursement of

         any and all defense costs incurred, or which might in the future be incurred, in the defense of

         Monroe and Buckingham and reimbursement for any settlements, damages, verdicts or judgments

         that may arise out of the Underlying Action; that this Court issue a declaratory judgment stating

         that pursuant to the terms of the Liberty CGL Policy, Liberty Mutual owes a primary and non-

         contributory duty to fully defend and indemnify Plaintiffs in the Underlying Action; that this Court

         issue a declaratory judgment stating that pursuant to the terms of the Liberty CGL – Umbrella

         Policy, Liberty Mutual owes a primary and non-contributory duty to fully defend and indemnify

         Plaintiffs in the Underlying Action and for such other and further relief as the Court may deem

         just, proper, and equitable.


         Dated: Buffalo, New York
                December 6, 2023


                                                       RICOTTA   MATTREY                   CALLOCCHIA
                                                       MARKEL & CASSERT



                                                       __________________________
                                                       By: Bryan Daniels
                                                       Attorneys for Plaintiffs
                                                       Monroe Clover Plaza, LLC and
                                                       Buckingham Properties, LLC
                                                       496 Main Street
                                                       Buffalo, New York 14202
                                                       (716) 854-6424



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